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                                                                   August 9, 2019

            Via CM/ECF

            Honorable Brian M. Cogan
            United States District Court
            Eastern District of New York
            225 Cadman Plaza East
            Brooklyn, New York 11201



                    Re:        DPWN Holdings (USA), Inc. v. United Airlines, Inc., No. 11-564 (BMC)

          Dear Judge Cogan:

                  We represent defendants United Airlines, Inc. and United Continental Holdings, Inc.
          (collectively, “United”) in the above-captioned matter. We respectfully write on behalf of all
          parties to advise the Court that the parties have reached an agreement in principle to resolve this
          matter. The parties are actively working to finalize their agreement, and anticipate that Plaintiff
          DPWN Holdings (USA), Inc. will be filing a motion to dismiss the action with prejudice within
          the next few weeks. Accordingly, we respectfully ask the Court to adjourn the pretrial conference
          and trial date sine die.

                    We thank the Court for its consideration of and attention to this matter.

                                                                                      Respectfully submitted,




                                                                                      /s/ Atif Khawaja
                                                                                      Atif Khawaja

            cc:          Counsel of Record (by CM/ECF)




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